
 The People of the State of New 
	York, Respondent, 
againstWinston D. Nelson, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Richard Ross, J.H.O.), rendered March 18, 2014, after a nonjury trial, convicting him of disorderly conduct, and imposing sentence.




Per Curiam.
Judgment of conviction (Richard Ross, J.H.O.), rendered March 18, 2014, reversed, on the law and the facts, accusatory instrument dismissed, and fine, if paid, remitted.
As the People concede, defendant's Summons Part conviction must be vacated, since both the summons and the trial evidence were insufficient to support the charge.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur 
Decision Date: October 23, 2017










